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The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 18, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

         In re:                                                        §
                                                                       §   Chapter 11
         HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                       §   Case No. 19-34054-sgj11
                                          Debtor.                      §
                                                                       §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                            §
                                                                       §
                                                                       §   Adversary Proceeding No.
                                          Plaintiff,
                                                                       §
                                                                       §   No. 20-03190-sgj
         vs.
                                                                       §
                                                                       §
         JAMES D. DONDERO,
                                                                       §
                                          Defendant.                   §

                            ORDER RESOLVING ADVERSARY PROCEEDING




     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
     address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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          This matter having come before the Court on the joint request of Highland Capital

  Management, L.P. (“Plaintiff” or the “Debtor”) and James Dondero (“Defendant” or “Mr.

  Dondero”), all of the parties (together, the “Parties”) in the above-captioned adversary proceeding

  (the “Adversary Proceeding”); and this Court having considered (a) the Debtor’s Proposed

  Findings of Fact and Conclusions of Law [Adv. Pro. Docket No. 156], (b) the Joint Pre-Trial

  Order [Adv. Pro. Docket No. 157], (c) James Dondero’s Proposed Findings of Fact and

  Conclusions of Law [Adv. Pro. Docket No. 158], (d) James Dondero’s Trial Brief Opposed to

  Plaintiff’s Complaint for Injunctive Relief [Adv. Pro. Docket No. 159], (e) the stipulated facts, the

  proposed factual findings, the proposed conclusions of law, and the arguments and law cited in the

  foregoing documents, and (f) all prior proceedings arising in and relating to this Adversary

  Proceeding; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

  1334; and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2);

  and this Court having found that venue of this proceeding and the Motion in this District is proper

  pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that there is a factual basis

  for the relief requested and that the requested relief is appropriate under sections 105(a) and 362(a)

  of the Bankruptcy Code; and after due deliberation and sufficient cause appearing therefor and for

  the reasons set forth in the record, it is HEREBY ORDERED THAT:

          1.       James Dondero is enjoined and restrained from the following conduct until the

  Court enters an order granting a motion made by the Debtor or its successors or assigns, seeking

  to close of the above-captioned Chapter 11 Case (the “Case Closing”):




                                                    2
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           (a) communicating directly or indirectly with (i) any member of the Independent Board, 2

  (ii) any current or former member of the Claimant Trust Oversight Board, 3 (iii) the Claimant

  Trustee, or (iv) the Litigation Trustee ((i)-(iv) collectively, the “Protected Entities”), any

  communication with the Protected Entities must be conducted directly through respective counsel;

           (b) making any express or implied threats of any nature against the Debtor, the Reorganized

  Debtor, any of the Protected Entities or any of their directors, officers, employees, professionals,

  or agents, in whatever capacity they are acting;

           (c) communicating with any person then employed by the Debtor or the Reorganized

  Debtor; and

           (d) interfering or otherwise impeding, directly or indirectly, with the Debtor’s, the

  Reorganized Debtor’s or the Protected Entities’ business, including, but not limited to, any

  decisions concerning their respective operations, management, treatment of claims, disposition of

  assets owned, controlled or managed by the Protected Entities, and the implementation of the Plan

  (collectively, the “Prohibited Conduct”). 4




  2
    “Independent Board” means the board of directors at Strand Advisors, Inc., the Debtor’s general partner, appointed
  on January 9, 2020, and their successors. The current members of the Independent Board are John Dubel, James P.
  Seery, Jr., and Russell Nelms.
  3
    All capitalized terms used but not defined herein have the meaning given to them in Fifth Amended Plan of
  Reorganization of Highland Capital Management, L.P. (as Modified) [Docket No. 1808] (as amended, the “Plan”),
  which included certain amendments. See Debtor’s Notice of Filing of Plan Supplement to the Fifth Amended Plan of
  Reorganization of Highland Capital Management, L.P. (as Modified), Ex. B [Docket No. 1875].
  4
    For the avoidance of doubt, this Order does not enjoin or restrain Mr. Dondero from seeking judicial relief upon
  proper notice, from objecting to any motion filed in this Bankruptcy Case, or from the exercise of all rights at law,
  contract, or equity made in accordance with any “gatekeeper” provision then in place, including those in the Plan, the
  Order Approving Settlement With Official Committee of Unsecured Creditors Regarding Governance of the Debtor
  and Procedures for Operations in the Ordinary Course [Docket No. 339], and the Order Approving Debtor’s Motion
  Under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain James P. Seery, Jr., as Chief Executive
  Officer, Chief Restructuring Officer and Foreign Representative Nunc Pro Tunc To March 15, 2020 [Docket No. 854]
  , and no communication conducted through respective counsel will be deemed to violate this Order or constitute
  Prohibited Conduct unless such communication is found to violate (b) (pertaining to threats) and (d) (pertaining to
  interference).

                                                            3
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          2.       It is further ORDERED that, for the avoidance of doubt, Mr. Dondero is also

  enjoined and restrained from otherwise violating section 362(a) of the Bankruptcy Code, until such

  section is no longer in force under its terms or the discharge injunction contained in the Plan after

  the Effective Date.

          3.       It is further ORDERED that Mr. Dondero is enjoined and restrained from causing,

  encouraging, or conspiring with (a) any entity owned or controlled by him, and/or (b) any person

  or entity acting with him or on his behalf, to, directly or indirectly, engage in any Prohibited

  Conduct until the Case Closing, except that this Order does not enjoin or restrain Mr. Dondero’s

  employees or any of his affiliates’ employees from communicating with the Debtor, the

  Reorganized Debtor, or the Protected Entities or any of their directors, officers, employees,

  professionals, or agents in connection with any requests for data or information made pursuant to

  that certain Order, Adv. Proc. No. 21-03010-sgj [Docket No. 24] (Bankr. N.D. Tex. Feb. 24, 2021),

  or in connection with the Shared Resources Agreement, dated March 1, 2021, by and among

  Highland Capital Management, L.P. and NexPoint Advisors, L.P. and Highland Capital

  Management Fund Advisors, L.P. (as may be amended or restated), subject to the limitations of

  (b) and (d) of the Prohibited Conduct.

          4.       It is further ORDERED that Mr. Dondero is enjoined and restrained from

  physically entering, or virtually entering through the Debtor’s computer, email, or information

  systems, the Debtor’s offices located at 200 Crescent Court, Suite 700 Dallas, Texas or 300

  Crescent Court, Suite 700 Dallas, Texas, or any other offices in which the Debtor operates, or

  offices or facilities owned or leased by the Debtor(the address(es) of which the Debtor will provide

  to Mr. Dondero’s counsel), regardless of any agreements, subleases, or otherwise, held by the

  Debtor’s affiliates or entities owned or controlled by Mr. Dondero, without the prior written



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  permission of Debtor’s counsel made to Mr. Dondero’s counsel. If Mr. Dondero enters the

  Debtor’s office or other facilities or systems without such permission, such entrance will constitute

  trespass.

          5.       It is further ORDERED that the Order Granting Debtor’s Motion for a Preliminary

  Injunction Against James Dondero [Adv. Pro. Docket No. 59] is deemed dissolved and superseded

  by this Order.

          6.       The Court shall retain exclusive jurisdiction with respect to all matters arising from

  or relating to the implementation, interpretation, and enforcement of this Order.


                                       ### END OF ORDER ###




                                                     5
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                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Highland Capital Management, L.P.,
      Plaintiff                                                                                                        Adv. Proc. No. 20-03190-sgj
Dondero,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: May 18, 2021                                               Form ID: pdf001                                                            Total Noticed: 4
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 20, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        May 18 2021 21:32:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        May 18 2021 21:32:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        May 18 2021 21:32:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 20, 2021                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0539-3                                             User: mmathews                                                         Page 2 of 2
Date Rcvd: May 18, 2021                                          Form ID: pdf001                                                       Total Noticed: 4
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 18, 2021 at the address(es) listed below:
Name                            Email Address
Bryan C. Assink
                                on behalf of Defendant James D. Dondero bryan.assink@bondsellis.com

John Y. Bonds, III
                                on behalf of Defendant James D. Dondero john@bondsellis.com

Juliana Hoffman
                                on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Matthew A. Clemente
                                on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                ey@sidley.com

Melissa S. Hayward
                                on behalf of Plaintiff Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                                on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                ce@sidley.com

Zachery Z. Annable
                                on behalf of Plaintiff Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 7
